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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA                            Criminal No.: 15-CR-I0383-WGY(s)

 V.                                                  VIOLATIONS:


 LUTHERSON BONHEUR, a/k/a "Boogs,'                   21 U.S.C. §846 - Conspiracy to Possess
                                                     with Intent to Distribute Heroin and
                       DEFENDANT.                    Cocaine


                                                     21 U.S.C. §841 - Possession with Intent to
                                                     Distribute Heroin and Cocaine


                                                     18 U.S.C. §922(g)(l) - Felon in Possession
                                                     of a Firearm and Ammunition


                                                     18 U.S.C. §924 (c) - Possession of a
                                                     Firearm in Furtherance of a Drug
                                                     Trafficking Offense

                                                     18 U.S.C. §924 (J) - Possession of a
                                                     Firearm in Furtherance of a Drug
                                                     Trafficking Offense Resulting in Death

                                                     21 U.S.C. §853 - Drug Forfeiture Allegation

                                                     18 U.S.C. §924(d) and 28 U.S.C. §246I(c) -
                                                     Firearm Forfeiture Allegation




                               SUPERSEDING INFORMATION


       COUNT ONE:            (21 U.S.C. §846 - Conspiracy to Possess With Intent to Distribute
                              and to Distribute Heroin and Cocaine)

       The Acting U.S. Attorney charges that:

       From in or around January 2015, and continuing through on or about November 22,2015, at

Boston, Brockton, Bamstable, and elsewhere in the District of Massachusetts, and elsewhere,

                             LUTHERSON BONHEUR, a/k/a "Boogs,"
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defendant herein, did knowingly and intentionally combine, conspire, confederate, and agree with

persons known andunknown to the U.S. Attorney, to possess withintent to distribute, andto distribute

heroin, a Schedule I controlled substance, and cocaine, a Schedule 11 controlled substance, in violation

of 21 U.S.C. §841(a)(l).

       It is fiirther allegedthat the offense describedin Count One involvedone kilogram or more of

a mixture and substance containing a detectable amount of heroin, a Schedule I controlled substance.

Accordingly, 21 U.S.C. §841(b)(l)(A)(i) applies to this offense.

       It is further alleged that, with respect to Count One, one kilogram or more of a mixture and

substance containing a detectable amount of heroin, a Schedule I controlled substance, is attributable

to, and was reasonably foreseeable by LUTHERSON BONHEUR.                     Accordingly, 21 U.S.C.

§841(b)(l)(A)(i) is applicableto defendant LUTHERSONBONHEUR.

       All in violation of 21 U.S.C. §846.
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       COUNT TWO:            (21 U.S.C. §841(a)(l) - Possession with Intent to Distribute
                              Heroin; 18 U.S.C. §2 - Aiding and Abetting)


       The Acting U.S. Attorney further charges that:

       On or aboutJune 19,2015, at Hyannis and elsewhere in the Districtof Massachusetts,

                             LUTHERSON BONHEUR, a/k/a "Boogs,"

defendant herein, did knowingly and intentionally possess with intentto distribute heroin, a Schedule

I controlled substance.


       All in violation of 21 U.S.C. §841(a)(l) and 18 U.S.C. §2.
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       COUNT THREE:          (18 U.S.C. §922(g)(l) - Felon in Possession of a Firearm;
                              18 U.S.C. §2 - Aiding and Abetting)

       The Acting U.S. Attorney further charges that:

       On or about September 30,2015, at Brockton, and elsewhere in the District of Massachusetts,

                             LUTHERSON BONHEUR, a/k/a "Boogs,"

defendant herein, did knowingly possess in and affecting commerce, a firearm and ammunition, to

wit, a M & P Smith and Wesson 9 mm handgun, bearing serial number DSJ7561, after having been

convictedin a court of a crimepunishableby imprisonment for a term exceedingone year.

       All in violation of 18 U.S.C. §922(g)(l) and 18 U.S.C. §2.
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       COUNT FOUR:           (21 U.S.C. §841(a)(l) - Possession with Intent to Distribute Heroin;
                             18 U.S.C. §2 - Aiding and Abetting)


       The Acting U.S. Attorney further charges that:

       On or about November 22,2015, at Brockton and elsewhere in the District of Massachusetts,

                             LUTHERSON BONHEUR, a/k/a "Boogs,"

defendant herein, did knowingly and intentionallypossess with intent to distribute heroin, a Schedule

I controlled substance.

       All in violation of 21 U.S.C. §841(a)(l) and 18 U.S.C. §2.
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       COUNT FIVE:                  (18 U.S.C. §922(g)(l) - Felon in Possession of a Firearm;
                                     18 U.S.C. §2 - Aiding and Abetting)

       The Acting U.S. Attorneyfurther chargesthat:

       On or about November 22,2015, at Brockton and elsewhere in the District of Massachusetts,

                             LUTHERSON BONHEUR, a/k/a "Boogs,"

defendant herein, didknowingly possess inandaffecting commerce, firearms andammunition, to wit:

a Mossberg 715T .22 caliber long rifle, bearing serial number ELH347279, and a 9mm Luger caliber

Springfield Armory, Model XDM-9, bearing serial number MG997114, after having been convicted

in a courtof a crimepunishable by imprisonment for a term exceeding one year.

       All in violation of 18 U.S.C. §922(g)(l) and 18 U.S.C. §2.
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COUNT SIX:            (18 U.S.C. §924(c) & 0) - Possession of a Firearm in Furtherance
                       of a Drug Trafficking Offense Resulting in Death

       The Acting U.S. Attorney further chargesthat;

       On or about September 30,2015, at Boston and elsewhere in the District of Massachusetts,

                              LUTHERSON BONHEUR, a/k/a "Boogs,"

defendant herein, didknowingly possess a firearm, to wit, a M & P Smith andWesson 9 mmhandgun,

bearing serial number DSJ7561, in furtherance of a drug trafficking crime, to wit: conspiracy to

possess with intent to distribute andto distribute heroin and cocaine, in violation of 21 U.S.C. §846,

as charged in Count One ofthis Information.

       The U.S. Attorney further chargesthat the firearm was discharged.

       The U.S. Attorney further charges that LUTHERSON BONHEUR, in the course of

committing the violation alleged in this count, caused the death of a person through the use of the

firearm, and the killing was a voluntary manslaughter as defined in Title 18, United States Code,

Section 1112; specifically, he causedthe death of JeffreyRandall.

       All in violationof 18 U.S.C. §924(c)(l)(A)(i) & (iii) and 18 U.S.C. §924G)(2).
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                              DRUG FORFEITURE ALLEGATION
                                           (21 U.S.C. §853)

The Acting U.S. Attorney further charges that:

       1.      Upon convictionof one or more of the offensesalleged in Counts One, Two, and

Four of this Information,


                               LUTHERSON BONHEUR, a/k/a "Boogs";


defendant herein, shall forfeit to the United States pursuant to 21 U.S.C. §853, any and all property

constituting, or derived from, any proceeds the defendant obtained, directly or indirectly, as a result

of suchoffenses; and anyproperty used or intended to be used, in any manner or part, to commit, or

to facilitate the commission of, such violations.

       2.      If anyof the property described inparagraph 1, above, as a resultof anyact or omission

of the defendant —



               (a)     cannotbe locatedupon the exercise of due diligence;

               (b)     has been transferred or sold to, or deposited with, a third party;

               (c)     has been placedbeyondthe jurisdictionof the Court;

               (d)     has been substantially diminished in value; or

               (e)     has beencommingled with otherproperty which cannot be divided without
                       difficulty,

it is the intention of the United States, pursuant to 21 U.S.C. §853(p), to seek forfeiture of any other

property of the defendant up to thevalue ofthe property described in paragraph 1.

       All pursuant to 21 U.S.C. §853.
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                            FIREARM FORFEITURE ALLEGATION
                            (18 U.S.C. §924(d) and 28 U.S.C. §2461(c))

'the Acting U.S. Attorney further charges that:

       1.      Upon conviction of one of the offenses alleged in Counts Three, Five, and Six of this

Information,

                               LUTHERSON BONHEUR, a/k/a "Boogs,"

defendant herein, shall forfeit to the United States pursuant to 18 U.S.C. §924(d) and 28 U.S.C.

§2461(c), any firearm or ammunition involved in or used in theknowing commission of the offense,

including, but not limited to, the following:

               (a)     M & P Smith and Wesson 9 mm handgun, bearing serial number DSJ7561,
                       seized on or about September 30,2015;

               (b)     Mossberg 715T.22caliber longrifle, bearing serial number ELH347279,
                       seized on or about November 23,2015; and

               (c)     9mm Luger caliber Springfield Armory, Model XDM-9 handgun, bearing
                       serial number MG997114, seized on or about November 23,2015.

2.     If anyof theproperty described inparagraph I, above, as a result of any act or omission of the

defendant,

               (a)     cannotbe located uponthe exercise of due diligence;

               (b)     has beentransferred or soldto, or deposited with, a thirdparty;

               (c)     has been placed beyond the jurisdiction of the Court;

               (d)     has been substantially diminishedin value; or

               (e)     has been commingled with otherproperty which cannot be divided without
                       difficulty,

it is the intention of the United States, pursuant to 21 U.S.C. §853(p), as incorporated by 28 U.S.C.

§2461(c), to seek forfeiture of any other property of the defendant up to the value of the property

described in paragraph 1.

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      All pursuant to 18U.S.C. §924(d)and28 U.S.C. §2461(c).




                                                   Respectfully submitted,

                                                   WILLIAM D.WEINREB
                                                   Acting United States Attorney


                                        By:
                                                   LeahB.Foley I             U
                                                   Assistant U.S. Attorney


Date: October 3,2017




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